 

CaSe-;l:15-cV-06119-A.]N-.]LC Document395-12 Filed 07/17/17 Page 1`01"¥:1',3$;_'7:!""3: -ri:

 

vazect: s'wu: comment # 6543 ay usda sonam

=F¥'W¥`i es'enevenuto

Dete Wednesd'ayY March 06, 2013 104 PM
T-O nichoias_reina@nypd org

C.C Sori§@aol.com

Hi Deteetive. Reina=

l have called the precinct a few times but unfortunately keep missing yOU-~ A“¥‘_”a¥i OUF predeior his
net been calling me anymore since that Sunday, February 24. 2013 that you Said VGL;‘ Woui`d 90 mt e
home end am since so very relievedl l assume you did go to his listed address for his _celt phone 35 h
discussed Thanl<-you a thousand times l witt call you another day to confirm if you did in fact 90 to t e
home and to find out what actually transpired

Than£-c-you again `°"
~t_inda

~~-~Originai Mess'ag.e*---

Fi'erri Be.nevenute <soril@ao|.com>

Tcl, nicholas reina <nichc:lias.rema@nypd.org>
Cc soril <soril@aol.r;om>

Sent: lVien. dan 23` 2913 449 pin

Subject. Fwd. Complamt # 6543 By t.inda Soriero

  
   
    
   
  
  
 
  
 
 
 
 
 
 
 
 
 
 
 
 
    

i-ti Detective Re.ina.

F`irst atf ttat§py New Year!l* | work for the State and totatly understand anti-
Thanks far getting beck te me Ptease find the attached the documents l-
request § wzli be also emaiting en updated pranl< ca11 list made to me te
sesst line t Hope eti the these horritic events we have been experie: ,
winded down for you and aisd in addition hoping you are feeling better-fite
feet better ltr-eateci myse-lt”tothe12,‘!2.12conc.ert. ‘ ` `

'i'ttarii~is againl
~Linda Sor`ierO
Ceil' 34?~351~9551

..... origins Messags~~-"

tier sent <§drii@§el‘@_ m> _
‘Te niehotas.reina snichoi§s.reina@ny§g,grg>
Cc‘ sori| <§c)ril@§ol.co_rri>

Sent; Mon, De<: 1?, 2012 1158 am

Subject' Com.plai-nt # 6543 By Linda S'oriero

'l-lt Detective Re§na.

Here are the-documents l told you about yesterday that t would ._ `
previously m§ened, this person called me en my horne fela ~-» t
31st .2'{1‘-|"2. deems B:SDAM, -
if>'ieas_e cai_i if you have any questions en my ce!t' 347~¢3_51. 7
fha-nies kindly for eti your help.

~Linda Senero

